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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                       AT LOUISVILLE

UNITED STATES OF AMERICA                                                                 PLAINTIFF

vs.                                                                                 3:18CR-176-DJH

KENNETH R. BETTS                                                                       DEFENDANT

                                                ORDER

          This matter is before the Court on motion of the United States of America to stay the

anticipated release Order announced in open court on November 6, 2018, in the above-

referenced case until the Court has an opportunity to review and resolve the United States=

forthcoming motion to revoke said release order. The United States advised that it intends to

file its motion to revoke the release order by close of business on November 8, 2018. IT IS

ORDERED as follows:

      1. The motion is GRANTED and any Release Order entered following the November 7,

         2018, Detention Hearing is STAYED from execution pending further Order of this Court;

         and

      2. The United States shall file its motion to revoke release no later than close of business on

         November 8, 2018.




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